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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

          ORDER REGARDING MATTERS DISCUSSED AT THE
            SEPTEMBER 30, 2020 STATUS CONFERENCE

          The Court held a status conference regarding its pending Flint

 Water litigation on September 30, 2020. The Court now orders as follows:

    I.      In re Flint Water Cases Discovery Coordination

          The Honorable Joseph J. Farah discussed his proposed timeline for

 issuing an opinion and order on a pending motion for reconsideration in

 the state court cases.

    II.     Individual Cases

          The Court informed the parties that the answer deadlines in

 Walters and Sirls for the City of Flint individual defendants shall be

 fourteen days from the date of the conference, on October 14, 2020.
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       The Court updated the parties regarding its procedure for

 adjudicating the motions to dismiss on statute of limitations grounds

 filed in many individual Flint Water Cases. Co-liaison counsel for the

 individual plaintiffs will email Judge Levy’s law clerk a list of those cases

 for which an affidavit or declaration has been submitted, and a list of

 those where no affidavits or declarations have been filed. The Court will

 then issue a decision in one or more cases and determine a manner of

 applying the ruling to other cases.

    III. Bellwether Cases

       The Court informed the parties that it received and will enter a

 proposed amended scheduling order related to remaining dates for the

 four round-one bellwether cases.

       With regard to the selection process and collection of Fact Sheets

 and Authorizations for the second group of bellwether adult Plaintiffs,

 the Court addressed this issue at the September 23, 2020 discovery

 conference. Co-liaison counsel will meet and confer with Defendants and

 report the outcome at the next conference.




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    IV.     Report from the Special Master

         The Special Master provided a report to the Court regarding the

 settlement process. The details of the settlement have not been provided

 to the public because the proposed settlement has not yet been provided

 to the Court. When the settlement documents are filed with the Court,

 the documents will be public. All terms and details will be available to

 the public. There will also be a schedule setting forth the time for

 interested parties to review the settlement and make the necessary

 determinations regarding it.

         The Special Master also provided an update on the ongoing claims

 process.

    V.      Video Discovery Conferences

         The following dates are set for a video discovery conference as

 needed: Thursday October 8, 2020 at 2:00pm and Wednesday

 October 21, 2020 at 2:00pm, if needed. The Court will provide video

 teleconference connection information and a pre-conference agenda in

 Case No. 16-cv-10444.




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    VI.    Scheduling of Next Status Conference

       The next status conference will be held on Wednesday October

 28, 2020 at 2:00pm. Parties are to file proposed agenda items in Case No.

 16-cv-10444 by October 14, 2020. Individual liaison counsel should collect

 proposed agenda items from all counsel representing individual plaintiffs

 and submit those proposed items as a single filing. The Court will issue

 an agenda by October 21, 2020.

          IT IS SO ORDERED.

 Dated: October 1, 2020                    s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge



                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on October 1, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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